Case 1:03-cV-01025-.]DB-tmp Document 45 Filed 05/06/05 Page 1 of 3 Page|D 71

IN THE UNITED sTATEs DISTRICT COURT v
FoR THE wEsTERN DISTRICT OF TENNEssEEOS HM"`" ..5 PH
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St`:tfl?§` s;‘ t
den 93 § § gm
0TT0WAY MURPHY, W-D O‘F n\`:"lu;g`€{§$%}%t
Plaintiff,

v. No. 03-1025-13/1>

CORRECTIONS CORPORATION OF
AMERICA, et al.,

Defendants.

 

ORDER OF REFERENCE

 

The above matter is hereby referred to Magistrate Judge Tu Pham for all discovery and
non»dispositive motions presently pending and/or filed during the course of this litigation

IT ls so 0RDERED this C+`day of May, 2005.

 

J. DANIEL BREEN
NI D sTATEs DISTRICT JUDGE

Tt):s document entered on the docket sheet ln compliance

\~ m note 53 and/or 79 (a) FRCP on _QSM__

 

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Honorable J. Breen
US DISTRICT COURT

